           Case 1:23-cv-08769-TAM Document 4-1 Filed 11/30/23 Page 1 of 1 PageID #: 15

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Eastern District
                                                   __________         of of
                                                               District  New  York
                                                                            __________

                       CALVIN LOPEZ                                   )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                         Civil Action No. 1:23-cv-8769 TAM
                                                                      )
               ALLY BANK;                                             )
  EARLY WARNING SERVICES, LLC d/b/a ZELLE                             )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) EARLY WARNING SERVICES, LLC d/b/a ZELLE
                                           c/o COGENCY GLOBAL INC.
                                           122 EAST 42ND STREET
                                           18TH FLOOR
                                           NEW YORK, NEW YORK 10168



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Daniel A. Schlanger
                                           Schlanger Law Group, LLP
                                           600 Mamaroneck Avenue
                                           Suite 400
                                           Harrison, New York 10528


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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                                                                             CLERK OF COURT

              11/30/2023
Date:
                                                                                         Signature of Clerk or Deputy Clerk
